       Case 1:09-cv-02465-GBD-GAY Document 8 Filed 09/27/10 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
SUZANNE FIORE,

                                             Plaintiff,

                  - against-                                                                  REPORT AND
                                                                                            RECOMMENDATION
ANDREW PINTO, MARGARET BELLOS, 

JOHN D. CAVALLARO, JOHN COSTANZO,                                                     09 Civ. 2465 (5.CQJ (GAY) 

THE VILLAGE OF TUCKAHOE and JOHN DOES 

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                                             Defendants.               ,                                      ~.   ,1                                      1!
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TO THE HON. UNITED STATES DISTRICT JUDGE:                              )    .~    ...,~


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         On or about March 18, 2009, plaintiff Suzanne Fiore filed a complaint alleging

that the defendants violated her constitutional rights because they, inter alia, falsely

arrested plaintiff and retaliated against her because of her speech. On or about April 3,

2009, the case was referred to the undersigned for All Matters. On June 18, 2010,

because the plaintiff failed to serve her complaint upon the defendants, I issued an

Order to Show Cause (Docket #6) giving the plaintiff until July 19, 2010 to respond to

the pending issue of why she had not yet effected timely and proper service upon the

defendants. The court received no response from the plaintiff and, as of the date of this

Report and Recommendation, the civil docket sheet maintained in this matter indicates

that service upon the defendants still has not been accomplished.

         Federal Rule of Civil Procedure 4(m) states, in relevant part:

         If a defendant is not served within 120 days after the complaint is filed, the
         court-on motion or on its own after notice to plaintiff-must dismiss the
         action without prejudice against that defendant or order that service be
     Case 1:09-cv-02465-GBD-GAY Document 8 Filed 09/27/10 Page 2 of 3




       made within a specified time. But if the plaintiff shows good cause for the
       failure, the court must extend the time for service for an appropriate
       period.

Fed. R. Civ. P. 4(m). Here, in accordance with the plain language of Rule 4(m), the

Court's Order to Show Cause provided the required notice and opportunity to plaintiff to

effect service upon the defendants. See Thompson v. Maldonado, 309 F.3d 107, 110

(2d Cir. 2002). Specifically, the undersigned instructed plaintiff to show cause by July

19,2010 as to why her complaint should not be dismissed pursuant to Rule 4(m).

Plaintiff failed to respond and show good cause for her failure to timely serve

defendants. Moreover, plaintiff has had no contact with this Court since she filed her

complaint in March of 2009. Accordingly, I conclude, and respectfully recommend, that

the plaintiff's complaint should be dismissed without prejudice.



                                          NOTICE

       Pursuant to 28 U.S.C. § 636(b)(1 )(B), as amended, and Rule 72(b), Fed. R. Civ.

P., the parties shall have fourteen (14) days from receipt of this Report to serve and file

written objections to this Report and Recommendation. If copies of this Report are

served upon the parties by mail, the parties shall have seventeen (17) days from receipt

of this Report to file and serve written objections. See Fed. R. Civ. P. 6(d). Such

objections, if any, shall be filed with the Clerk of the Court, with extra copies delivered to

the chambers of The Honorable District Court Judge at the United States District Court,

Southern District of New York, 300 Quarropas Street, White Plains, New York, 10601,

and to the chambers of the undersigned at said Courthouse.



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     Case 1:09-cv-02465-GBD-GAY Document 8 Filed 09/27/10 Page 3 of 3



         Failure to file timely objections to this Report and Recommendation will preclude

later appellate review of any order of judgment that will be entered. See Caidor v.

Onondaga County, 517 F.3d 601, 604 (2d Cir. 2008).



         Requests for extensions of time to file objections must be made to the Honorable

District Court Judge and not to the undersigned.




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Dated:   September~,         2010
         White Plains, New York




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